Case 5:19-cr-20008-JEL-RSW ECF No. 19, PagelD.42 Filed 09/10/19 Page 1 of 21

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,

Plaintiff,

D-1 Jonathan Woods,

Defendant.

 

No. 19-20008
Hon. Judith E. Levy

Offenses:

18 U.S.C. § 1343
Wire Fraud
(Counts 1-4)

18 U.S.C. § 1029(a)(3)

Possession of 15 or More Counterfeit or
Unauthorized Access Devices

(Count 5)

Maximum Penalty:
20 years (Count 1)
10 years (Count 5)

Maximum Fine:
Not to exceed $250,000

Mandatory Supervised Release:
Up to 3 years

Rule 11 Plea Agreement

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

defendant, Jonathan Woods, and the government agree as follows:
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l. Guilty Plea
A. Counts of Conviction
Defendant will enter a plea of guilty to Counts One through Five of the

Indictment, which charges him with:

 

Count Offense Statute
1-4 | wire fraud 18 U.S.C. § 1343

 

 

5 possession of fifteen or more counterfeit or 18 U.S.C. § 1029(a)(3)
unauthorized access devices

 

 

 

 

B. Elements of Offenses LD
ary Four [es
The elements of Countf One'are as follows: re %

1. The defendant devised a scheme to defraud;

i)

. The defendant acted with the intent to defraud; and

. In advancing, furthering, or carrying out the scheme, the defendant

uo

caused the transmission of a signal of some kind by means of a wire
communication in interstate commerce.
The elements of Count Five are as follows:
1. The defendant knowingly possessed 15 or more access devices;
2. the devices were counterfeit or unauthorized;
3. the defendant possessed those devices with the intent to defraud; and

4. the defendant's conduct affected interstate or foreign commerce.

 
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C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant’s guilty
pleas on Counts One through Five:

Between May 2017 and May 2018, Jonathan Woods portrayed himself on
social media as an expert at credit card fraud. He frequently made posts to
Instagram and Twitter about his skill at fraud and the large amounts of money that
he eared from it. Woods also posted music videos to YouTube in which he rapped
about his prowess at credit card fraud and flashed large amounts of money. In his
music and in social media, Woods proclaimed himself the greatest of all time—the
GOAT.

Woods drew a large following online. While Woods often predicted that he
would be arrested for his fraud one day, he dismissed the future consequences
because of how much money he earned. Based on his posts, many of Woods’s
followers asked him for instruction and guidance on how to commit credit card
fraud so that they, too, could be rich.

Woods devised a scheme to fleece these would-be credit card fraudsters by
offering to teach them his secrets for a fee of several hundred dollars. Woods
instructed his victims to wire the money through various interstate wire services,

such as Western Union or MoneyGram, to an alias, “James Green.” Once Woods

received the money, he instructed his victims to download the web browser, The
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Onion Router, commonly known as “TOR.” (TOR is a worldwide network of
servers that enables users to access the dark web where many credit card fraud
transactions occur.). Next, Woods provided each victim identical login information
tb websites on the dark web known to sell illegally obtained credit card account
numbers (“dumps”) and corresponding PINs (Personal Identification Numbers).
Woods then suggested certain BINs (Bank Identification Numbers) that his victims
should acquire on these websites.

Woods maintained a small cache of personally identifiable information
(“PII”) belonging to sixteen individuals that included their true names, addresses,
social security numbers, email accounts, and passwords. As part of his scheme,
Woods distributed this same cache of PI] to each of his victims as a starter set on
their would-be life of fraud. In the end, his victims were unable to use the
information that he provided because the information that Woods provided was
useless as he did not, in fact, know how to commit credit card fraud despite his
claims as the GOAT. When they complained, Woods stopped all communication,
but he still kept their money.

In furtherance of his scheme to defraud the would-be fraudsters, Woods

received the following payments for his so-called knowledge and expertise through

the Money Gram interstate wire service:

 

' This cache of information supplies the factual basis for count 5.

_4-
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| . Count _ Approximate Date - Description of Wire
ee ee Communication |
: 1 December 20,2017 | MoneyGram payment of $400 to
2 January 6, 2018 MoneyGram payment of $600 to
fl 3 January 21, 2018 MoneyGram payment of $400 to
Ce  Staes Green”

! 4 May 1, 2018 MoneyGram payment of $500 to

bo “James Green”
2. Sentencing Guidelines
A. Standard of Proof
The Court will find sentencing factors by a preponderance of the evidence.
B. Agreed Guideline Range
There are no sentencing guideline disputes. Except as provided below, the
defendant’s guideline range is 24 — 30 months, as set forth on the attached
worksheets. If the Court finds:
1. That defendant’s criminal history category is higher than reflected .
on the attached worksheets, or
2. that the offense level should be higher because, after pleading
guilty, defendant made any false statement to or withheld
information from his probation officer; otherwise demonstrated a

lack of acceptance of responsibility for his offense; or obstructed

justice or committed any crime,
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and if any such finding results in a guideline range higher than 24 — 30 months, the
higher guideline range becomes the agreed range. However, if the Court finds that
defendant is a career offender, an armed career criminal, or a repeat and dangerous
Sex offender as defined under the sentencing guidelines or other federal law, and
that finding is not already reflected in the attached worksheets, this paragraph does
not authorize a corresponding increase in the agreed range.

Neither party may take a position concerning the applicable guidelines that is
different from any position of that party as reflected in the attached worksheets,
except as necessary to the Court’s determination regarding subsections 1) and 2),
above.

3. Sentence

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing
so must consider the sentencing guideline range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) the sentence of
imprisonment in this case may not exceed the top of the sentencing guideline range
as determined by Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment.

There is no agreement on supervised release. In other words, the Court may impose
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any term of supervised release up to the statutory maximum term, which in this case
is 3 years. The agreement concerning imprisonment described above in Paragraph
3A does not apply to any term of imprisonment that results from any later

|
revocation of supervised release.

|

| C. Special Assessment

Defendant will pay a special assessment of $500.00 at the time of sentencing.
D. Fine

There is no agreement as to fines.

E. Restitution

The Court shall order restitution to every identifiable victim of defendant’s
offense. There is no agreement on restitution. The Court will determine who the
victims are and the amounts of restitution they are owed.

Defendant agrees that restitution is due and payable immediately after the
judgment is entered and is subject to immediate enforcement, in full, by the United
States. 18 U.S.C. §§ 3612(c) and 3613. If the Court imposes a schedule of
payments, Defendant agrees that the schedule of payments is a schedule of the

minimum payment due, and that the payment schedule does not prohibit or limit the

methods by which the United States may immediately enforce the judgment in full.
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4. Use of Withdrawn Guilty Plea
If the Court allows defendant to withdraw his guilty plea for a “fair and just

reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), defendant waives his rights under

Fed. R. Evid. 410, and the government may use his guilty plea, any statement made
|

under oath at the change-of-plea hearing, and the factual basis statement in this plea
agreement, against him in any proceeding.
5. Other Charges

| If the Court accepts this agreement, the government will dismiss Count 6 in
this case.
6. Each Party’s Right to Withdraw from This Agreement

The government may withdraw from this agreement if the Court finds the

correct guideline range to be different than is determined by Paragraph 2B.
|

| .
Defendant may withdraw from this agreement, and may withdraw his guilty

plea, if the Court decides to impose a sentence higher than the maximum allowed
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by Paragraph 3. This is the only reason for which defendant may withdraw from
this agreement. The Court shall advise defendant that if he does not withdraw his

guilty plea under this circumstance, the Court may impose a sentence greater than

the maximum allowed by Paragraph 3.
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7. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed the top of the
agreed range, the defendant also waives any right he may have to appeal his
sentence on any grounds. If the defendant’s sentence of imprisonment is at least the
bottom of the agreed range, the government waives any right it may have to appeal
the defendant’s sentence.
: This waiver does not bar filing a claim of ineffective assistance of counsel in
court.
8. Consequences of Withdrawal of Guilty Pleas or Vacation of Convictions

If defendant is allowed to withdraw his guilty pleas or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the
order vacating defendant's conviction or allowing him to withdraw his guilty pleas
becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty pleas or to any conduct reflected in the attached worksheets, defendant
waives his right to challenge the additional charges on the ground that they were not
filed in a timely manner, including any claim that they were filed after the

limitations period expired.
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|

9. Collateral Consequences of Conviction
Defendant understands that his convictions here may carry additional
consequences under federal and state law, including the potential loss of the right to

|
vote, right to carry a firearm, right to serve on a jury, and ability to hold certain

licenses or to be employed in certain fields. Defendant further understands that, if

he is not a native-born citizen of the United States, there may be adverse
immigration consequences resulting from conviction. These include possible
removal from the United States, denial of citizenship, denaturalization, denied
admission to the United States in the future and other possible consequences.
Defendant understands that no one, including the defendant’s attorney or the Court,
can predict to a certainty the effect of defendant’s conviction on any of these

matters. Defendant nevertheless affirms that he chooses to plead guilty regardless of

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any immigration consequences or other collateral consequences of his conviction.
10. Parties to Plea Agreement

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.
1 1. Scope of Plea Agreement

This agreement, which includes all documents that it explicitly incorporates,

is the complete agreement between the parties. This agreement supersedes all other

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promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time

before the guilty plea is entered in court. Thus, no oral or written promises made by

the government to defendant or to the attorney for the defendant at any time before
|

defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any
such prior written agreement.

This agreement also does not prevent any civil or administrative actions

against defendant, or any forfeiture claim against any property, by the United States

or any other party.

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12. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on 09/09/2019. The government
reserves the right to modify or revoke this offer at any time before defendant pleads
guilty.

MATTHEW SCHNEIDER
United States Attorney

Matthew R Roth Terrence R. Haugabook
Assistant United States Attorney Assistant United States Attorney
Chief, Major Crimes

 

 

Shane Cralle
Assistant United States Attorney

Date: 09/03/2019

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By signing below, defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney’s advice and representation. Defendant agrees that
he has had a full and complete opportunity to confer with his lawyer, and has had
all of his questions answered by his lawyer.

A bbihe bE tonsthen C. Nntoods.

 

 

 

 

Natasha Webster onathan Woods
Attorney for Defendant efendant

q - 6-0/q d-& 20(4
Date Date

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WORKSHEET A

OFFENSE LEVEL

Jonathan Woods District/Office Eastern District of Michigan

Defendant

 

Docket Number 19-20008

Count Number(s) 14:5 U.S. Code Title & Section 18 _- 1343 . 18 — .1029(a)(3)

 

Guidelines Manual Edition Used: 2018 (Note: The Worksheets are keyed to the November 1, 2016 Guidelines Manual)

INSTRUCTIONS
Complete a separate Worksheet A for each count of conviction or as required in a situation listed at the bottom of Worksheet B.*
Exceptions: Use only a single Worksheet A where the offense level for a group of closely related counts is based primarily on
aggregate value or quantity (see §3D1.2(d)) or where a count of conspiracy, solicitation, or attempt is grouped with a substantive
count that was the sole object of the conspiracy, solicitation, or attempt (see §3D1.2(a) & (b)).

1. Offense Level (See ChapterTwo) | = :
Enter the applicable base offense level and any specific offense Sharsctarienice from Chapter Two and explain the
bases for these determinations. Enter the sum in the box provided.

 

 

 

 

 

 

 

 

 

Guideline Description Level
2B1.1(a)(1) base offense level 7
2B1.1(b)(1)(D) loss of more than $40, 000 (includes U.S.S.G. 2B1.1 cmt. n. 3(F)(i)) 6
2B1.1(b)(2)(A) 10 or more victims 2
2B1.1(b)(10)(C) sophisticated means 2
2B1.1(11)(B)(i) trafficking of unauthorized access devices 2

 

 

 

If the Chapter Two guideline requires application of a cross reference or other 5
reference, an additional Worksheet A may be needed for that analysis. See §1B1.5. um |19

2. Victim-Related Adjustments (See Chapter Three, Part A)
Enter the applicable section and adjustment. If more than one section is applicable
list each section and enter the combined adjustment. If no adjustment is applicable, §
enter “0”.

 

 

 

 

 

 

 

3. Role in the Offense Adjustments (See Chapter Three, Part B)
Enter the applicable section and adjustment. If more than one section is anplicable,
list each section and enter the combined adjustment. If the adjustment reduces the §
offense level, enter a minus (—) sign in front of the adjustment. If no adjustment is
applicable, enter “0”.

4. Obstruction Adjustments (See Chapter Three, Part C) ss
Enter the applicable section and adjustment. If more than one section is ‘épplicable,
list each section and enter the combined adjustment. If no adjustment is applicable, §
enter “0”.

5. Adjusted Offense Level
Enter the sum of Items 1-4. If this Worksheet A dues not cover all counts of eanvichon or situations
listed at the bottom of Worksheet B, complete Worksheet B. Otherwise, enter this result on
Worksheet D, Item 1.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Y Check here if all counts (including situations listed at the bottom of Worksheet B)* are addressed on this one
Worksheet A. If so, no Worksheet B is used.

 

 

If the defendant has no criminal history, enter “I” here and on Worksheet D, Item 4. No Worksheet C is used.

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016}
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MULTIPLE COUNTS*

Dafendant Jonathan Woods acini abe 49-20008

 

 

INSTRUCTIONS

STEP 1: Determine if any of the counts group under §3D1.2(a)—(d) (“the grouping rules’). All, some, or none of the counts may group.
Some of the counts may have already been grouped in the application under Worksheet A, specifically: (1) counts grouped under
§3D1.2(d); or (2) a count charging conspiracy, solicitation, or attempt that is grouped with the substantive count of conviction
(see §3D1.2(a)). Explain the reasons for grouping:

 

 

 

STEP 2: Using the box(es) provided below, for each group of “closely related counts” (i.e., counts that group together under any of
the four grouping rules), enter the highest adjusted offense level from Item 5 of the various Worksheets “A” that comprise the
group. See §3D1.3. Note that a “group” may consist of a single count that has not grouped with any other count. In those instances,
the offense level for the group will be the adjusted offense level for the single count.

STEP 3; Enter the number of units to be assigned to each group (see §3D1.4) as follows:
e One unit (1) for the group of counts with the highest offense level
e An additional unit (1) for each group that is equally serious or 1 to 4 levels less serious
e An additional half unit (1/2) for each group that is 5 to 8 levels less serious
e No increase in units for groups that are 9 or more levels less serious

As Adjusted Offense Level for the First Group of Counts

 

Count number(s) Unit

2. Adjusted Offense Level for the Second Group of Counts

 

 

 

Count number(s) _____ Unit

 

 

3. Adjusted Offense Level for the Third Group of Counts ? z
Count number(s) Unit

 

4. Adjusted Offense Level for the Fourth Group of Counts

 

Count number(s) Unit

5. Adjusted Offense Level for the Fifth Group of Counts

 

 

Unit

 

 

Count number(s)

6. Total Units

 

  

Total Units
7. Increase in Offense Level Based on Total Units (See §3D1.4)

 

 

1 unit: no increase 2% —3 units: add 3 levels
1% units: add 1 level 3% —5 units: add 4 levels
2 units: add 2 levels More than 5 units: add 5 levels

8. Highest of the Adjusted Offense Levels from Items 1-5 Above

 

 

 

 

9. Combined Adjusted Offense Level (See §3D1.4)

 

Enter the sum of Items 7 & 8 here and on Worksheet D, Item 1.

 

 

 

 

“Note: Worksheet B also includes applications that are done “as if there were multiple counts of convictions,” including: multiple-object
conspiracies (see §181.2(d)); offense guidelines that direct such application (e.g., §2G2.1(d)(1) (Child Porn Production)); and stipulations to
additional offenses (see §1B1.2(c)). Note also that these situations typically require the use of multiple Worksheets A.

 

U.S. Sentencing Commission Worksheets (November 1, 2016)

 
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WORKSHEET C
CRIMINAL HISTORY
[Page | of 2]

Docket Number 19720008

Defendant Jonathan Woods

 

 

 

Note: As an aid, some of the basic criminal history “rules” are listed below. However, there are numerous additional criminal history rules at
§§4A1.1 and 4A1.2 that must be used with Worksheet C and for correct application.

 

 

Enter the Earliest Date of the Defendant's Relevant Conduct
(The date of the defendant’s commencement of the instant offense(s))

1. Prior Sentences Resulting from Offenses Committed Prior to the Defendant's 18th Bithday =>

(a) 3 Points if convicted as an adult, for each prior sentence of imprisonment exceeding one year and one
month imposed within 15 years of the defendant’s earliest date of relevant conduct or resulting in
incarceration during any part of that 15-year period. See §§4A1.1(a) and 4A1.2(d)(1) & (e)(1).

 

(b) 2 Points for each prior adult or juvenile sentence of confinement of at least 60 days not counted under
§4A1.1(a) imposed within 5 years or from which the defendant was released from confinement within 5 years
of the defendant’s earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(d)(2)(A).

(c) 1 Point for each prior adult or juvenile sentence not counted under §4A1.1(a) or §4A1.1(b) imposed within
5 years of the defendant’s earliest date of relevant conduct. See §§4A1.1(c) and 4A1.2(d)(2)(B).

Note: Identify as "adult" any sentence exceeding one year and one month that resulted from an adult conviction.
A release date is required in only two instances: (1) when a sentence covered under §4A1.1(a) was imposed more than 15 years prior to the
defendant's earliest date of relevant conduct but resulted in the defendant being incarcerated during any part of such 15-year period; or

(2) when a sentence counted under §4A1.1(b) was imposed more than 5 years prior to the defendant's earliest date of relevant conduct,
but release from confinement occurred within such 5-year period.

 

 

 

 

Date of Of sent Release Guideline Criminal
Imposition i ie etlaita Date Section History Points
11/26/18 Att poss contr. sub. 10 days jail 4A1.1(c)4A1.2(c) 1
8/22/17 Poss MJ or synth. $675 in fines & costs 4A1.1(C\/4A1.2(c) 4

 

 

 

 

 

 

2. Prior Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birthday

(a) 3 Points for each prior sentence of imprisonment exceeding one year and one month imposed within
15 years of the defendant’s earliest date of relevant conduct or resulting in incarceration during any part of
that 15-year period. See §§4A1.1(a) and 4A1.2(e)(1).

(b) 2 Points for each prior sentence of imprisonment of at least 60 days not counted under §4A1.1(a) imposed
within 10 years of the defendant's earliest date of relevant conduct. See §§4A1.1(b) and 4A1.2(e)(2).

(ec) 1 Point for each prior sentence not counted under §4A1.1(a) or §4A1.1(b) imposed within 10 years of the
defendant’s earliest date of relevant conduct. See §§4A1.1(c) and 4A1.2(e)(2).

Note: A release date is required when a sentence covered under §4A1.1(a] was imposed more than 15 years prior to the defendant's earliest
date of relevant conduct but resulted in the defendant being incarcerated during any part of such 15-year period.

 

Date of Off tent Release Guideline Criminal
Imposition onse SESS Date Section History Points

 

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)

 
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Worksheet C — Criminal History [Page 2 of 2]

Jonathan Woods

Defendant Docket Number 1920008

 

(continued from Sentences Resulting from Offenses Committed On or After the Defendant's 18th Birthday)

 

Date of Release Guideline Criminal
Offense Sentence

Imposition Date Section History Points

 

 

 

 

 

 

 

 

 

 

 

3. Sum of Criminal History Points for prior sentences under §4A1.1(a), (b), & (c) in tems 1 & 2

 

A total of 4 points can be added for all the 1-Point sentences counted in Items 1 & 2 combined.

 

 

 

4. “Status” of Defendant at Time of Instant Offense :
2 Points for “status” if the defendant committed any part of the instant offense (i.e., any ralovaint

 

conduct) while under any criminal justice sentence (e.g., probation, parole, dupervined release,
imprisonment, work release, or escape status) for a sentence counted in Items 1 or 2. See §4A1.1(d)

 

 

 

and Application Note 4. List the type of control and identify the counted sentence that resulted in the
control. Otherwise, enter 0 Points.

 

 

5. Crimes of Violence —
1 Point for each prior sentence resulting from a conviction of a crime of violence that did not receive

 

any points under §4A1.1(a), (b), or (c) because such sentence was counted as a single sentence which
also included another sentence resulting from a conviction for a crime of violence. A total of 3 points

 

 

 

can be added under this subsection. See §4A1.1(e) and Application Note 5, and §4A1.2(a)(2) & (p).
Identify the crimes of violence and briefly explain why the cases are considered a single sentence.
Otherwise, enter 0 Points.

 

 

4. Total Criminal History Points (sum of Items 3-5)

 

 

 

 

 

 

 

 

 

 

Z
5. Criminal History Category (Enter here and on Worksheet D, Item 4)
Total Points Criminal History Category

0-1 I
923 II I

4-6 Il

7-9 IV

10-12 V

13 or more VI

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
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DETERMINING THE SENTENCE
[Page | of 4]

Defendant Jonathan Woods Docket Number 19-20008

 

1. Adjusted Offense Level (From Worksheet A or B)

If Worksheet B is required, enter the result from Worksheet B, Item 9. Otherwise! ‘enter rans eult
from Worksheet A, Item 5. 19

 

 

 

2. Acceptance of Responsibility (See Chapter Three, Part E) Lge ee an eee
Enter the applicable reduction of 2 or 3 levels. If no adjustment is applicable, enter “0”. [a

3. Offense Level Total (Item 1 less Item 2)

 

 

4. Criminal History Category (From Worksheet A or C) : Besse
Enter the result from Worksheet C, Item 8, unless the qcendent has no eaminal histore, anid as
directed at the bottom of Worksheet A, no Worksheet C is used and “IJ” is entered here. II

5. Terrorism; C Career Offender; Criminal Livelihood; Armed Career Criminal; Repeat: end Pongereus
Sex Offender (See Chapter Three, Part A, and Chapter Four, PartB) ae

a. Offense Level Total
If the provision for Career Offender (§4B1.1), Criminal Livelihood (§4B1.3), Armed Career
Criminal (§4B 1.4), or Repeat and Dangerous Sex Offender (§4B1.5) results in an offense level total
higher than Item 3, enter the offense level total. Otherwise, enter “N/A”.

 

 

 

 

 

 

b. Criminal History Category
If the provision for Terrorism (§3A1.4), Career Offender (§4B1.1), Armed Career Criminal (§4B1.4),
or Repeat and Dangerous Sex Offender (§4B1.5) results in a criminal history category higher than
Item 4, enter the applicable criminal history category. Otherwise, enter “N/A”.

 

 

 

 

6. Guideline Range from Sentencing Table

Enter the applicable guideline range from Chapter Five, Part A, in months.

 

24 to 30

 

 

 

7. Restricted Guideline Range (See Chapter Five, Part G)
If the statutorily authorized maximum sentence or the statutorily requized
minimum sentence restricts the guideline range (Item 6) (see §§5G1.1 and 5G1.2), to
enter either the restricted guideline range or any statutory maximum or minimum
penalty that would modify the guideline range. Otherwise, enter “N/A”.

 

 

 

 

 

Check here if §5C1.2 (Limitation on Applicability of Statutory Minimum Penalties in Certain Cases) and
18 U.S.C. § 3553(e) — “The Safety Valve” — are applicable.

 

 

 

8. Undischarged Term of Imprisonment; Anticipated State Term of Imprisonment (See §5G1.3)

 

If the defendant is subject to an undischarged term of imprisonment, or an anticipated state term of
imprisonment, check this box. Below list the undischarged/anticipated term(s), the applicable section of
§5G1.3 and its direction or guidance as to whether the instant federal sentence is to be imposed to run
concurrently or consecutively to the undischarged/anticipated term(s), and any sentence adjustment.

 

 

 

 

 

 

U.S. Sentencing Commission Worksheets (November 1, 2016)
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Worksheet D — Determining the Sentence [Page 2 of 4]

Defendant Jonathan Woods

Docket Number .19-20008

 

9. Sentencing Options (See Chapter Five, Sentencing Table and §§5B1.1(a) and 5C1.1)

Check the applicable box that corresponds to the Guideline Range entered in Item 6 or Item 7, if applicable.

 

 

 

 

 

Zone A (See §§5B1.1(a)(1) & SC1.1(a) & (b))

If checked, the following options are available:

Fine (See §§5C1.1(b) & 5E1.2(a))

“Straight” Probation (See §§5B1.1(a)(1) & 5C1.1(b))

Imprisonment (See §5C1.1(a) & (c)(1))

 

Zone B (See §§5B1.1(a)(2) & 5C1.1(a}) & (c))

 

 

 

 

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (c)(2))

Imprisonment of at least one month plus supervised release with a condition that
substitutes community confinement or home detention for imprisonment
(See §5C1.1(c)(2))

Probation with a condition that substitutes intermittent confinement, community
confinement,or home detention for imprisonment (See §§5B1.1(a)(2) and 5C1.1(c)(3))

 

Zone C (See §5C1.1(a) & (d))

 

 

 

 

If checked, the minimum term may be satisfied by:

Imprisonment (See §5C1.1(a) & (d)(1))

Imprisonment of at least one-half of the minimum term plus supervised release
with a condition that substitutes community confinement or home detention for
imprisonment (See §5C1.1(d)(2))

 

Zone D (See §5C1.1(a) & (f))

 

v

 

 

 

If checked, the minimum term is to be satisfied by a sentence of imprisonment

10. Length of Term of Probation (See §5B1.2)

If probation is imposed, the guideline for the length of such term of probation is: (Check the applicable box)

 

 

 

 

 

 

At least one year, but not more than five years if the offense level total is 6 or greater.

No more than three years if the offense level total is 5 or less.

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Worksheet D — Determining the Sentence [Page 3 of 4]

Defendant Jonathan Woods Docket Number 19-20008

 

11. Supervised Release (See §§5D1.1 and 5D1.2)

a. Imposition of a Term of Supervised Release:

 

Ordered because required by statute (See §5D1.1(a)(1)).

 

 

Y Ordered because a sentence of imprisonment of more than one year is imposed (See §5D1.1(a)(2)).

 

 

Is not ordered although a sentence of more than one year is imposed, because it is not required by
statute and the defendant likely will be deported after imprisonment (See §5D1.1(c)).

 

 

Ordered because it may be ordered in any other case (See §5D1.1(b)).

 

 

 

b. Length of Term of Supervised Release

Check the Class of the Offense:

 

Class A or B Felony: Two to Five Year Term (See §5D1.2(a)(1))

 

 

Y Class C or D Felony: One to Three Year Term (See §5D1.2(a)(2))

 

 

 

Class E Felony or Class A Misdemeanor: One Year Term (See §5D1.2(a)(3))

 

 

Ifa statutorily required mandatory minimum term of supervised release for the offense impacts the
guideline range for the applicable Class of Offense above, also check this box, and list the statutory
minimum term (See §5D1.2(c)):

 

 

 

years mandatory minimum term of supervised release

 

If an offense in 18 U.S.C. § 2332b(g)(5)(B) that resulted in, or created a foreseeable risk of, death or
serious bodily injury to another person; or if a sex offense, the term of supervised release will not be
less than the minimum term established above, and may be up to life (See §5D1.2(b)).

 

 

 

Policy Statement: If a sex offense, the statutory maximum term of supervised release is recommended.

12. Restitution (See §5E1.1)

a. I£frestitution is applicable, enter the amount. Otherwise enter “N/A” and the reason:
To be determined

 

 

b. Enter whether restitution is statutorily mandatory or discretionary:
mandatory

 

c. Enter whether restitution is by an order of restitution, or solely as a condition of supervision. Enter the
authorizing statute:

 

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Worksheet D — Determining the Sentence [Page 4 of 4]

Defendant Jonathan Woods Docket Number 19-20008

 

13. Fines (The Guideline Range for Fines for Individual Defendants) (See §5E1.2)

a. Special Fine Provisions Minimum Maximum

 

Check box if any of the counts of conviction is for a statute with
a special fine provision. (This does not include the general fine
provisions of 18 USC § 3571(b)(2) & (d)).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Enter the sum of statutory maximum fines for all such counts. $250,000
b. Fine Table (§5E1.2(c)(3))
Enter the minimum and maximum fines. $1 0,000 $ 95,000
c. Fine Guideline Range
(Determined by the minimum of the Fine Table (Item 13(b)) and the
greater maximum above (Item 13(a) or 13(b))). $10,000 $250,000

 

 

 

 

 

 

d. Ability to Pay

 

Check this box if the defendant does not have an ability to pay.

 

 

 

14. Special Assessments for Individual Defendants (See §5E1.3)

Enter the total amount of the statutory special assessments required for all counts of conviction:

« $100 for each felony count of conviction.

¢ $25 for each Class A misdemeanor count of conviction.

e While not subject to guideline sentencing, the special assessments for a Class B misdemeanor,
and a Class C misdemeanor or infraction are $10 and $5 per count, respectively.

TOTAL: $500

15. Factors That May Warrant a Departure (See § 1B1.1(b))

Consider Chapter Five, Part H (Specific Offender Characteristics) and Part K (Departures), and other policy
statements and commentary in the Guidelines Manual that might warrant consideration in sentencing.
(See also the “List of Departure Provisions” included in the Guidelines Manual after the Index).

 

 

 

 

 

 

 

 

16. Factors That May Warrant a Variance (See §1B1.1(c))
Consider the applicable factors in 18 U.S.C. § 3553(a) taken as a whole.

 

 

 

 

Completed by Date

 

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